 Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 1 of 69




24-1241-CV
                           IN THE


United States Court of Appeals
                FOR THE SECOND CIRCUIT

                           >> >>
                       CASE LEROY,
                                                              Plaintiff-Appellant,
                             v.

      LIVINGSTON MANOR CENTRAL SCHOOL DISTRICT,
    JOHN P. EVANS, in his capacity as Superintendent of
   Schools of Livingston Manor Central School District,
                                                           Defendants-Appellees.


       On Appeal from the United States District Court
           for the Southern District of New York



   BRIEF FOR DEFENDANTS-APPELLEES


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                     Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 2 of 69




                                        TABLE OF CONTENTS



TABLE OF CONTENTS .................................................................................................. i
TABLE OF AUTHORITIES ............................................................................................ iii

STATEMENT OF THE ISSUES .........................................................................................1

STATEMENT OF FACTS.................................................................................................3

         A. On April 19, 2021, Appellant and Two of His Friends Posted
            a Photograph on Snapchat Mocking the Death of George
            Floyd, Prompting Angry Messages from the Public
            Characterizing the Photograph as Racist ..................................................3

         B. Starting on April 19, 2021 and Continuing Throughout the
            Week, the District Received a Flood of Emails and Phone
            Calls from Angry Students, Parents, and Members of the
            Community Complaining About the Racist Social Media
            Photos and Demanding Swift Action ........................................................6

         C. The Photos Circulating Social Media Not Only Yielded
            Angry Phone Calls from the Community; the Substantial
            Disruption to the School Took Many Other Forms
            Including Interruptions with Teacher Instruction, a Planned
            Student Protest, a Police Presence on School Grounds, and
            Media Inquiries and Attention ................................................................20
         D. While Managing the Substantial Disruption to the Learning
            Environment, the District Also Commenced an
            Investigation on April 20, 2021 ..............................................................24

         E. The District Hired an Attorney to Investigate the Matter and
            Provide a Report Regarding Potential Discipline ...................................25

         F. Based on the Investigator’s Recommendation, the
            Superintendent Charged Plaintiff with Violating the Code
            of Conduct and Scheduled a Superintendent’s Hearing .........................27



                                                          i
                     Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 3 of 69




         G. After the Superintendent’s Hearing, the Hearing Officer
            Found Plaintiff Guilty of Two Charges and Recommended
            Additional Suspension; Superintendent Evans Adopted Her
            Findings and Included a Suspension from Extracurricular
            Activities .................................................................................................28
SUMMARY OF ARGUMENT .........................................................................................31

ARGUMENT ...............................................................................................................35
   POINT I:        MAHANOY PERMITS SCHOOLS TO REGULATE OFF-CAMPUS
                   SOCIAL MEDIA SPEECH IF IT CAUSES A SUBSTANTIAL
                   DISRUPTION TO THE EDUCATIONAL ENVIRONMENT ...........................35

   POINT II: APPELLANT’S SNAPCHAT POST CAUSED A SUBSTANTIAL
             DISRUPTION TO THE EDUCATIONAL ENVIRONMENT ...........................44
   POINT III: THE COURT SHOULD NOT ENTERTAIN APPELLANT’S
              VIEWPOINT DISCRIMINATION AND HECKLER’S VETO
              ARGUMENTS THAT WERE NOT RAISED BELOW AND DO
              NOT APPLY ..........................................................................................49
         A. The Claims Are Unpreserved for Appeal .................................................49

         B. Viewpoint Discrimination is Inapplicable ................................................50
         C. Heckler’s Veto is Inapplicable ..................................................................55

   POINT IV: THE COURT SHOULD AFFIRM DISMISSAL OF THE CLAIMS
             AGAINST SUPERINTENDENT JOHN EVANS AS THEY ARE
             DUPLICATIVE OF APPELLANT’S CLAIMS AGAINST THE
             SCHOOL ...............................................................................................59

CONCLUSION ............................................................................................................ 60

CERTIFICATE OF COMPLIANCE WITH F.R.A.P. 32(a) ................................................61




                                                            ii
                     Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 4 of 69




                                    TABLE OF AUTHORITIES

Cases                                                                                                     Page(s)

A.M. ex rel. McKay v. Taconic Hills Cent. Sch. Dist.,
 510 F. App’x 3 (2d Cir. 2013) ............................................................................. 51

Barr v. Lafon,
 538 F.3d 554 (6th Cir. 2008)................................................................................ 52

Bethel Sch. Dist. No. 403 v. Fraser,
 478 U.S. 675 (1986) ............................................................................................. 55

Bey v. City of New York,
 999 F.3d 157 (2d Cir. 2021) ................................................................................. 50

B.L. by & through Levy v. Mahanoy Area Sch. Dist.,
 964 F.3d 170 (3d Cir. 2020) ................................................................................. 37

Bradford v. Norwich City Sch. Dist.,
 54 F. Supp. 3d 177 (N.D.N.Y. 2014) ................................................................... 39

C1.G on behalf of C.G. v. Siegfried,
 38 F.4th 1270 (10th Cir. 2022) ...................................................................... 46, 47

Chandler v. Tech. Coll. of Lowcountry,
 2022 WL 2670806 (D.S.C. July 11, 2022) .......................................................... 47

Cheadle on behalf of N.C. v. N. Platte R-1 Sch. Dist.,
 555 F. Supp. 3d 726 (W.D. Mo. 2021) ................................................................ 42

Church of Am. Knights of the Ku Klux Klan v. Kerik,
 356 F.3d 197 (2d Cir. 2004) ................................................................................. 42

Clark v. Cmty. for Creative Non-Violence,
 468 U.S. 288 (1984) ............................................................................................. 41

Cuff ex rel. B.C. v. Valley Cent. Sch. Dist.,
 677 F.3d 109 (2d Cir. 2012) ................................................................................. 36



                                                         iii
                     Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 5 of 69




Dariano v. Morgan Hill Unified Sch. Dist.,
 767 F.3d 764 (9th Cir. 2014).......................................................................... 57, 58

DeFabio v. E. Hampton Union Free Sch. Dist.,
 658 F. Supp. 2d 461 (E.D.N.Y. 2009) ................................................................. 36

Defoe ex rel. Defoe v. Spiva,
 625 F.3d 324 (6th Cir. 2010)................................................................................ 52

Doe v. Pulaski Cnty. Special Sch. Dist.,
 306 F.3d 616 (8th Cir. 2002)................................................................................ 39

Doe v. Trump Corp.,
 6 F.4th 400 (2d Cir. 2021) .................................................................................... 49

Doninger v. Niehoff,
 527 F.3d 41 (2d Cir. 2008) ....................................................................... 36, 39, 43

Eisner v. Stamford Bd. of Ed.,
 440 F.2d 803 (2d Cir. 1971) ................................................................................. 55

Goldman v. Rio,
 788 F. App’x 82 (2d Cir. 2019) ........................................................................... 49

Greater New York Mut. Ins. Co. v. Burlington Ins. Co.,
 2024 WL 1827249 (2d Cir. Apr. 26, 2024) ......................................................... 49

Hardwick ex rel. Hardwick v. Heyward,
 711 F.3d 426 (4th Cir. 2013)................................................................................ 52

Hazelwood Sch. Dist. v. Kuhlmeier,
 484 U.S. 260 (1988) ............................................................................................. 55

Heller v. Bedford Cent. Sch. Dist.,
 665 F. App’x 49 (2d Cir. 2016) ........................................................................... 42

J.S. ex rel. Snyder v. Blue Mountain Sch. Dist.,
  650 F.3d 915 (3d Cir. 2011) ................................................................................. 47




                                                         iv
                     Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 6 of 69




Kristoffersson on behalf of R.R. v. Port Jefferson Union Free Sch. Dist.,
 2023 WL 6119710 (E.D.N.Y. Sept. 18, 2023) .................................................... 50

Kutchinski as next friend to H.K. v. Freeland Cmty. Sch. Dist.,
 69 F.4th 350 (6th Cir. 2023) ................................................................................ 39

L.M. v. Town of Middleborough, Massachusetts,
  103 F.4th 854 (1st Cir. 2024) ............................................................................... 52

LaVine v. Blaine Sch. Dist.,
 257 F.3d 981 (9th Cir. 2001)................................................................................ 36

Locurto v. Giuliani,
 447 F.3d 159 (2d Cir. 2006) ................................................................................. 57

Mahanoy Area Sch. Dist. v. B. L. by & through Levy,
 594 U.S. 180 (2021) ...................................................................................... Passim

Mhany Mgmt., Inc. v. Cnty. of Nassau,
 819 F.3d 581 (2d Cir. 2016) ................................................................................. 50

Morse v. Frederick,
 551 U.S. 393 (2007) ............................................................................................. 42

Peck v. Baldwinsville Cent. School Dist.,
 426 F. 3d. 617 (2d Cir. 2005) ............................................................................... 51

Rodriguez v. City of Rochester,
 624 F. App’x 16 (2d Cir. 2015) ........................................................................... 59

Rutherford v. Fla. Union Free Sch. Dist.,
 2019 WL 1437823 (S.D.N.Y. Mar. 29, 2019) ..................................................... 59

Singh v. Mem’l Sloan Kettering Cancer Ctr.,
  2024 WL 4586396 (2d Cir. Oct. 28, 2024) .......................................................... 50

Spence v. State of Wash.,
 418 U.S. 405 (1974) ............................................................................................. 41




                                                         v
                    Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 7 of 69




Sullivan v. Houston Indep. Sch. Dist.,
 475 F.2d 1071 (5th Cir. 1973).............................................................................. 39

Taylor v. Roswell Indep. Sch. Dist.,
 713 F.3d 25 (10th Cir. 2013)................................................................................ 58

Texas v. Johnson,
 491 U.S. 397 (1989) ....................................................................................... 41, 42

Thomas v. Bd. of Ed., Granville Cent. Sch. Dist.,
 607 F.2d 1043 (2d Cir. 1979) ............................................................. 39, 43, 47, 48

Tinker v. Des Moines Indep. Cmty. Sch. Dist.,
  393 U.S. 503 (1969) ........................................................................... 31, 32, 36, 52

Tolbert v. Queens Coll.,
 242 F.3d 58 (2d Cir. 2001) ................................................................................... 49

Tripathy v. McKoy,
 103 F.4th 106 (2d Cir. 2024)................................................................................ 49

United States v. Gomez,
 877 F.3d 76 (2d Cir. 2017) ................................................................................... 49

United States v. Joyner,
 313 F.3d 40 (2d Cir. 2002) ................................................................................... 33

United States v. Keshner,
 794 F.3d 232 (2d Cir. 2015) ................................................................................. 50

Wang v. Bethlehem Cent. Sch. Dist.,
 2022 WL 3154142 (N.D.N.Y. Aug. 8, 2022) ................................................ 47, 51

West v. Derby Unified Sch. Dist. No. 260,
 23 F. Supp. 2d 1223 (D. Kan. 1998) .................................................................... 52

Wisniewski v. Bd. of Educ. of Weedsport Cent. Sch. Dist.,
 494 F.3d 34 (2d Cir. 2007) ....................................................................... 36, 37, 39




                                                        vi
                     Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 8 of 69




Wood v. Strickland,
 420 U.S. 308 (1975) ............................................................................................. 37

Young v. Selsky,
 41 F.3d 47 (1994) ................................................................................................... 5

Z.F.X. by Vankesteren v. Riverhead Cent. Sch. Dist.,
  2021 WL 1238842 (E.D.N.Y. Apr. 2, 2021) ....................................................... 59

Zalewska v. Cnty. of Sullivan, New York,
 316 F.3d 314 (2d Cir. 2003) ................................................................................. 42

Zamecnik v. Indian Prairie Sch. Dist. No. 204,
 636 F.3d 874 (7th Cir. 2011)................................................................................ 37

STATUTES

U.S. Const. amend. I ........................................................................................ passim

42 U.S.C. § 1983 ....................................................................................................... 1

42 U.S.C. § 2000d ................................................................................................... 51

N.Y. Educ. Law § 12............................................................................................... 51

N.Y. Exec. Law § 296(4) ........................................................................................ 51




                                                           vii
                Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 9 of 69




                         STATEMENT OF THE ISSUES

      1.      Did the district court properly hold that under the Tinker standard,

Plaintiff-Appellant’s off-campus expressive activity was not protected under the

First Amendment because it reasonably forecasted, and actually caused, a substantial

disruption to the educational environment?

      Yes. The district court answered this question in the affirmative and properly

dismissed Appellant’s 42 U.S.C. § 1983 First Amendment claim.

      2.      Were Plaintiff-Appellant’s viewpoint discrimination and “heckler’s

veto” claims preserved for appellate review when he never raised those theories of

liability in the court below?

      No. The Court may not consider Plaintiff-Appellant’s new theories of liability

raised for the first time on appeal. These arguments nevertheless fail on the merits

because his speech reasonably forecasted, and actually caused, a substantial

disruption.

      3.      Should the district court have dismissed the claims against Defendant-

Appellee John Evans because he was only named in his official capacity and

therefore the claims against him were duplicative of those against Defendant-

Appellee Livingston Manor Central School District?

      Yes. The district court did not need to address this issue after dismissing the

claims on other grounds. However, this Court should affirm dismissal of the claims



                                          1
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 10 of 69




against Superintendent Evans on the ground that official capacity claims are

duplicative of the claims asserted against the school district itself.




                                           2
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 11 of 69




                            STATEMENT OF FACTS

      Defendant-Appellee Livingston Manor Central School District (the

“District”) is a school district located in Sullivan County. (A-34, ¶1; A-487, ¶1.) The

District is small; there is one school building that houses grades pre-K through 12

and consists of approximately 420 students. (A-76; A-487, ¶2; A-472, ¶2.) There

were approximately 200 students between the 7th and 12th grades (A-505, ¶101), and

only about 40 students in Leroy’s graduating class. (A-73.)

      Defendant-Appellee John Evans is the Superintendent of Schools for the

District, a position he has held since 2017. (A-472, ¶1.) Shirlee Davis was the Middle

School and High School Principal from 2018 until her retirement in June 2022. (A-

480, ¶1.) Christian Towsley is the High School Counselor, a position he has held

since 2002. (A-484, ¶1.)

      Case Leroy (“Leroy” or “Appellant”) was a 12th grade student in the District

during the 2020-2021 school year. (A-484, ¶2; A-487-88, ¶6.) Leroy used the social

media app called Snapchat, and was Snapchat “friends,” i.e., connected via

Snapchat, with most of the 40 students in his graduating class, or at least more than

half of them, as well as students in other grades in the school. (A-73-74.)

      A. On April 19, 2021, Appellant and Two of His Friends Posted a
         Photograph on Snapchat Mocking the Death of George Floyd,
         Prompting Angry Messages from the Public Characterizing the
         Photograph as Racist
      On April 19, 2021, Leroy and his three friends, Students A, B, and C, staged


                                          3
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 12 of 69




a photo shoot in a local parking lot. (A-198; A-289.) Leroy placed himself on the

ground, with his head on its side, while Student B kneeled on top of him with his

knee on Leroy’s neck. (the “April 19 Photo”). (A-289; see also A-79-80; A-197-

198; A-242.) Student A gave the “thumbs-up” and smiled, while Student B took the

picture of the scene. (A-289; A-197; A-242.) Student B then sent the photo to the

others via Snapchat. (A-93; A-243.)

      All three students posted the April 19 Photo on their Snapchat stories shortly

after it was taken. (A-105-06; A-210.) Leroy added a caption to his copy of the

photo: “Cops got another.” He shared it to his Snapchat “story,” meaning he

transmitted it to the phones of all his Snapchat “friends”—between 60 and 100

people. (A-38, ¶17; A-97; A-101-02.) In doing so, he transmitted the photo to most

of his graduating class and several other students at the High School. (A-72-74.)

      Student A also posted the April 19 photo on his Snapchat story, but he added

the caption: “Another one down” with a Black Lives Matter (“BLM”) logo. (A291;

see also A38, ¶18; A-108-09; A-276.) Student A acknowledged the reference to the

George Floyd incident, and claimed he intended it to be a “joke” about George

Floyd’s death. (A-207-08; A-208-09.) Student B also shared the April 19 Photo on

his Snapchat story, without a caption. (A-206; A-225; A-244; A-245.) He too knew

the photo he and his friends had staged was similar to the photos taken of the George

Floyd murder. (A-250-51; A-489, ¶ 22.)


                                          4
                 Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 13 of 69




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       The Court can take judicial notice that protests and riots broke out in the wake

of the George Floyd incident. The day these boys posted the photo—April 19,

2021—it was common knowledge that a jury was deliberating in the trial of Derek

Chauvin, the police officer who killed George Floyd. (A-473, ¶5; A-489, ¶23.) The

jury returned a verdict the following day, April 20, 2021.




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  The photo to the left is the April 19 Photo Leroy posted to his Snapchat stories. (A-289.) On the
right is a photo of Derek Chauvin with his knee on the neck of George Floyd in the moments before
Floyd’s death. See Jordan Hayne, Why Dereck Chavin Was Found Guilty of Both Murder and
Manslaughter over George Floyd’s Death, ABC NEWS, https://www.abc.net.au/news/2021-04-
21/derek-chauvin-murder-manslaugher-george-floyd-sentence/100083494 (last visited November
11, 2024). Although this photo was not part of the record, the Court may take judicial notice of
this image that was broadcast around the world. See e.g., Young v. Selsky, 41 F.3d 47, 50-51 (1994)
(under Federal Rule of Evidence 201, a “court may judicially notice a fact that is not subject to
reasonable dispute”) (internal quotations omitted).

                                                5
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 14 of 69




      After posting the photo, Leroy’s phone started “blowing up” with messages

from people who were threatening him and cursing him out about what he had

posted. (A-116-18; A-126-27.) Student A received messages from people calling him

names like “racist scumbag.” (A-217.) While driving home, the students received

negative and threatening comments as the April 19 Photo spread through various

social media platforms, including Snapchat, Facebook, Instagram, and Twitter, and

throughout the community. (A-128-29.) The students deleted the photos. Leroy and

Students A and B were barraged with phone calls, and people showed up to their

houses and Leroy’s parents’ places of employment. (A-213; A-491, ¶36.) Leroy was

concerned he put his family’s life in danger. (A-133.)

      B. Starting on April 19, 2021 and Continuing Throughout the Week, the
         District Received a Flood of Emails and Phone Calls from Angry
         Students, Parents, and Members of the Community Complaining
         About the Racist Social Media Photos and Demanding Swift Action
      By 9:00 p.m. on April 19, emails complaining about racist and inappropriate

photos of District students circulating social media began flooding Superintendent

Evans and Principal Davis’ inboxes and continued into the night. (A-473, ¶¶7-8; A-

480-81.) Other District administrators and employees received similar emails. (A-

473, ¶7; A-480, ¶3; A-484, ¶3; see also A-295; A-303-305; A-341-42; A-346; A356-

61; A-367.)




                                         6
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 15 of 69




      Leroy had taken another photo that also circulated on social media with the

April 19 Photo. (A-142-43; A144-45; A-147-48.) It showed one student holding

another student of color over a desk in a classroom at Livingston Manor High

School, with his hands behind his back (the “March 25 Photo”). (A-293; A-473,

¶6.) Leroy took the March 25 Photo of Students D and E during his first period

English class. (A142-43; A-473, ¶6.)

      District personnel, students, and community members immediately

recognized the April 19 Photo was a reference to the events underlying the ongoing

trial of Derek Chauvin for the murder of George Floyd in Minnesota. (A-473, ¶5; A-

480, ¶2; A-485, ¶4; see gen., A-294-374.) Members of the community contacted

District officials, administrators, and other employees, to complain about the photos.

(A-473, ¶¶7-8; A-480-81, ¶¶3-4; A-484, ¶3; see gen., A-294-374.) They called the

photos racist and disgusting; many identified Leroy by name as one of the students

involved. (A-473, ¶¶7-8; A-480-81, ¶¶3-4; A-484, ¶3; see gen., A-294-374.) Those

emails not only criticized the students involved, but some criticized the District for

tolerating the behavior and demanded the District take disciplinary action. (A-473, ¶8;

A-480-81, ¶4; A-484, ¶3; see also A-298-301; A-307-19; A-327-42; A-345-67.)

      At 8:47 p.m., a female student emailed High School English Teacher Jillian

Hoag to report an “uncomfortable” post circulating on social media and attached

the April 19 Photo. (A-295.) This student indicated she felt “posts like these make


                                          7
                  Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 16 of 69




students feel unsafe in their own school,” and she asked her teacher to do something

about it. (Id.)

       At 8:52 p.m., a female student emailed Principal Davis calling the April 19

Photo “really inappropriate.” (A-298-301.) The student commented that it seemed

to come “from a place of hate,” that it made her “extremely uncomfortable … [to]

share a school with people who joke about black American deaths,” and that she

hoped there is “some type of castigation.” (Id.) Principal Davis thanked the student

for reporting the matter and indicated she would follow up on it the next morning.

(A-298-301.) She then forwarded the email to Superintendent Evans and advised it

was the fourth student who had sent her the photo. (Id.)

       By 9:04 p.m., a female student emailed Principal Davis and Counselor

Christian Towsley to report the photos were circulating on Snapchat and “offending

people from multiple schools.” (A-303-05.) Principal Davis responded to the

student’s email, thanking her for the information. (A-303-05.)

       At 9:12 p.m., a female student emailed Principal Davis to complain about the

“atrocious photo taken of two students by the name of Case Leroy and [Student

A].” (A-307-08.) Her email continued:




                                             8
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 17 of 69




           The photo shows Case lying on the ground with [Student A’s]
           knee on his neck, with the caption “Cops got another.” This
           photo is very obviously mocking the murder of George Floyd
           which is absolutely sickening to see by students of Livingston
           Manor. All POC students at LMCS are harmed and may even
           feel unsafe by the behavior demonstrated by these two students
           in the attached photo. I am a firm believer LMCS is, and should
           remain, a safe and compassionate place for all of its students
           and staff. With that being said, in order to keep that
           environment, it is in LMCS’s best interest overall that the
           students in the attached photo are punished for absolutely
           disgusting, disturbing, and heartless actions. They will never
           understand what it was like for George Floyd’s family and
           loved ones to lose their family member wrongfully at the hands
           of the law. I beg of you, on behalf of your POS students, and
           OC everywhere, take action toward this behavior. It is truly
           despicable. (Id. [emphasis supplied.])

This student attached a copy of Leroy’s Snapchat post with his original caption

“Cops got another,” along with the following caption that appears to have been added

by someone who re-posted the photo on social media: “Imagine making a *****

mockery of something very traumatizing that happened. You are both *****

disgusting.” (A-307-08.) Principal Davis thanked the student for informing her of

this and indicated she would investigate in the morning. (A-307-08.)

      At 9:53 p.m., Superintendent Evans, along with eight other District

administrators and employees, received an email from Stand Against Racism

Education (“SARE”) complaining about the photos that were circulating on social

media, signed by “Members of Stand Against Racism in Education.” (A310-11.) The

email reads:


                                          9
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 18 of 69




           It has come to our attention that there are students from the
           Livingston Manor Central School District circulating pictures
           of themselves openly mocking the death of George Floyd who
           was a victim of police brutality. This is a disgusting display as
           the man who killed him is currently on trial. We have attached
           the pictures that we have seen. One of them appears to be taken
           on school property in a classroom. We have potential
           identifications of the students in the pictures: [Student A,
           Student B, Student D] and Case Leroy.

           We are asking for your full attention to be given to this matter.
           It is clear from this display that the culture of racism spills from
           the home and into school life and you are obligated to address
           it.

           We are asking for a swift and severe punishment. This display
           is outrageous and disgusting.

           We are asking for a clear message from you all that this will
           not be tolerated by the school.

           Signed,
           Members of Stand Against Racism in Education. (Id.[emphasis
           supplied].)

      Superintendent Evans indicated the school district administration was aware

of the recent posts on social media, and that they would be thoroughly investigated

and dealt with quickly and appropriately. (A-310-11.)

      In addition to writing directly to the administration, SARE reposted Student

A’s photo with the caption: “Imagine saying that Livingston Manor has surpassed its

dark history of being a Sundown Town with its own KKK chapter. Mind you, these

kids are training for criminal justice. The further North you are in New York, the

more Southern it gets.” (A-332-36.)

                                           10
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 19 of 69




      At 10:12 p.m., a female student emailed Principal Davis to report the photos

circulating on social media and attached a copy of Leroy’s April 19 Snapchat post

with the caption “Cops got another.” (A-313-15.) She wrote:

           Although I never write emails concerning about what happens
           in the school especially when it comes to “drama” I think this
           is a complete [sic] different story. As you may know from the
           picture [Student A] and Case Leroy have made in my opinion
           a very inappropriate joke that should not be joked about and as
           someone who has faced discrimination and racism in her life I
           find this very disgusting and inappropriate because no matter
           the intention they still knew what they were doing and even had
           a smile on their face as they did it. As a person of color who
           had often felt like I had to watch what I said around certain
           people in the school because they might act hostile because of
           their opinions or views even though police brutality is not a
           political opinion/belief it is something that I feel strongly about
           and that many other people of color do as well and to see
           [Student A] and Case be able to smile and joke about it so freely
           hurts not only me but many other people as well especially
           since they will never feel or face the discrimination I have felt
           and might even face in the future is extremely disheartening to
           say the least even if they thought it was a “funny joke.” The
           post had made me feel like it came from a place of hatred and
           makes me feel unsafe because at the end of the day these are
           people [sic] lives and should not be treated as a running joke. I
           genuinely hope you can see why this picture is extremely
           disrespectful to a person of color and I hope they have
           consequences to their actions. (Id. [emphasis supplied].)

Principal Davis responded in the same manner as she did to the prior emails. (A-

313-15.)

      At 10:50 p.m., another female student emailed Principal Davis. (A-317-19.)

She commented she felt “strongly disgusted and sick” that Leroy and Student A



                                           11
                Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 20 of 69




“thought to make fun and quote on quote joke about Gorge [sic] Floyds tragic death.”

(A-317-19.) Principal Davis informed the student she would investigate in the

morning. (A-317-19.)

        At 10:56 p.m., a male student emailed Principal Davis to complain about the

social media posts. (A-321-26.) He also reported this “was not a one off event with

Case and [Student A],” but that it “happens frequently” and that “so far this year [he]

totaled close to 20 different incidents with this group making racist ‘jokes’ like this.”

(Id.)

        At 11:09 p.m., an alumnus from a neighboring school district, Payton Powell,

emailed Superintendent Evans and Principal Davis to report he came across

“horrible and unacceptable pictures across many social media platforms” that “are

very clearly mocking the death of George Floyd, and the Black Lives Matter

Movement.” (A-328-30.) He pointed out many people were aware of the social

media posts. (Id.) The email continued:

            As someone who is part of this community, and has dedicated
            time and effort in supporting this community, this type of
            behavior is absolutely unacceptable and quite frankly,
            disgusting. The people of color who attend schools in this county
            should feel accepted and safe. These kids have made it public
            that they are condoning police brutality and racism. Making it
            public, like they have, is absolutely appalling. (Id. [emphasis
            supplied].)

        Mr. Powell urged the District to take action: “Any child attending our schools

in Sullivan County should feel safe, and accepted. Unfortunately, this is not the

                                           12
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 21 of 69




case for Livingston Manor from that I have seen. This type of behavior that is being

swept under the rug, is hateful. I do hope that I shed some light on a very serious

issue in schools around this country.” (A-328-30.) Superintendent Evans promptly

thanked him for sharing his concerns, explained the District administration was

aware of the posts, that they were investigating the matter, and that it would be

handled promptly and appropriately. (A-328-30.) He also responded: “Both the

LMCS and RCS administrations take matters like this very seriously. The health,

safety and wellbeing of all of our students is very important to us and racist behavior

has no place in our schools.” (Id.)

      At 11:44 p.m., Courtney Lambert, a parent of a 5 th grade student in the

District, emailed Superintendent Evans and Principal Davis to complain about

“some disturbing pictures” she saw on social media. (A-332-36.) She indicated she

was concerned for her daughter’s safety and urged the District to take serious action

against the students. (Id.) Superintendent Evans responded to Ms. Lambert’s email

to explain the District was aware of the social media posts and conducting an

investigation, and that such behavior “is completely unacceptable and inappropriate

in any setting and will be addressed.” (A-332-36.)

      Also at 11:44 p.m., another community member and former District student,

Jaspreet Gill, emailed Superintendent Evans and Principal Davis to complaint about

the photos circulating social media, referring to them as “disgusting, racist


                                          13
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 22 of 69




behavior.” (A-338-39; A-497, ¶68.) She recounted her past experiences with racism

while attending the District as a student and urged the current administration to

handle the matter differently:

           I know far too well the rampant racism that runs through
           Livingston Manor and that does not stop when you enter
           LMCS. When I was a student, no one was reprimanded for their
           racist insults and racial microaggressions toward me. I still
           remember it eight years later.

           As leaders of LMCS, I ask you not to let this behavior continue
           and hold those students, if they do attend your high school,
           accountable. Do not let your students of color down as my
           teachers and peers did. (A-338-39.)
      In response to Ms. Gill’s email, Principal Davis responded in a similar fashion

to the prior emails. (A-338-39.)

      At 12:15 a.m. on April 20, 2019, another community member, Balvina

Garcia, emailed K-8 School Counselor Meagan Edwards to report Leroy’s April 19

Post and the fallout from it, calling it terrorism that is “not justified on any level.”

(A341-42.) Ms. Garcia identified Leroy by name and commented his behavior was

“unacceptable on every level that exists.” (A341-42.) She further commented,

“[T]his kind of mockery and behavior just promotes more and more hatred towards

minorities and people of color. It’s racism.” Ms. Garcia asked the District to take

action because such behavior “should not be tolerated and should be condemned.”

(Id.) Ms. Edwards forwarded this complaint to Superintendent Evans and Principal

Davis. (Id.)


                                           14
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 23 of 69




      At 7:54 a.m., also on April 20, a female student emailed Principal Davis to

complain about Leroy’s April 19 post, which she attached to her own email. (A-

344.) She indicated the photo mocking George Floyd’s death was very disturbing

and that she did not “feel comfortable being around classmates who happy [sic]

make light of murder.” (Id.)

      At 7:55 a.m., community member Hannah Tuso emailed Superintendent

Evans, Principal Davis, and High School Guidance Counselor Christian Towsley

to complain about the photos which were brought to her attention “and the attention

of almost everyone in Sullivan and Orange County.” (A-346.) She wrote:

           I’m sure you’ve all been made aware, and I appreciate your time
           in reading this so that I can adequately express my deep level of
           concern and fear for our school.

           I know the history that our town has as a Sundown town. I am
           well aware of the legacy Livingston Manor has left as being
           intolerant and discriminatory toward minorities. I really hope
           that you all can find a way to act on this matter that facilitates
           growth and inclusivity: the people of color that attend our
           school deserve better than to see the blatant disregard for their
           lives being mocked on social media. Black people being killed
           by the police will never be a joke….

           As someone with a dead father, these posts did affect me very
           deeply. The dead people that these boys are mocking had a
           family. They were human beings, with hopes and dreams and
           passions. They didn’t get to achieve all they had planned, and
           now their unjust death is being joked about by your students.

           I strongly urge you to make our counselors available for
           anyone that may need them after seeing these posts. I hope that
           appropriate action is taken to demonstrate our school’s

                                          15
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 24 of 69




           dedication to inclusivity and overcoming our history of
           discrimination. (Id. [emphasis supplied].)

      At 8:43 a.m., community member Grady Parks emailed Superintendent

Evans to complain about the April 19 Post. (A-348-50.) He described this behavior

as “absolutely disgusting” and an active display of racism that may make people of

color uncomfortable, and he called for “some sort of disciplinary action” against

the students involved. (Id.) Superintendent Evans thanked him for sharing his

thoughts and concerns and explained the District was aware of the social media

posts and conducting an investigation. (A-348-50.) Superintendent Evans added:

“As a school district we take these matters very seriously. These behaviors have no

place in our school and as a district, we are taking steps to address this important

issue throughout our school community.” (A-348-50.)

      At 12:32 p.m., community member Sophia Xiomara emailed Superintendent

Evans and Principal Davis to report racist posts by District students and identified

Leroy by name. (A-352.) She wrote: “Acting in a way that picks fun at a murder or

another human being is not a joke and cannot be brushed aside. Racist and hateful

behavior cannot and will not be tolerated in our community. Our youth are the future

of this country and it is up to their teachers and mentors to show them what is right

and what is not.” (Id.) Ms. Xiomara urged the District to “hold these students

accountable and create policies that no longer condone any racist/hateful behavior

from tis [sic] students or community members.” (A-352.) Superintendent Evans

                                         16
                  Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 25 of 69




received a similar email ten minutes later from Mykenzi Williams. (A-354.) He

responded to both emails to explain the District was aware of the social media posts

and conducting an investigation, and that the District would not tolerate racism and

he would take steps to address that with the school community. (A-352; A-354.)

       At 1:20 p.m., Dylan Parks emailed Superintendent Evans, Principal Davis,

Guidance Counselor Danielle Dalcero, Counselor Towsley, and District Clerk Jane

Mann to complain about the reenactment of “the murder of George Floyd at the

hands of Derek Chauvin.” (A356-61.) He described this behavior as “repulsive,”

“abhorrent,” “nauseating,” “unacceptable,” and racist. (Id.) H e asked that the

students be held accountable for their actions and identified Leroy by name.

(A356-61.) Mr. Parks indicated he had contacted the NAACP and was reaching out

to the Director of Health and Human Services for Sullivan County. (A356-61.)

Superintendent Evans explained that the District was aware of the posts, was

conducting an investigation, and that all cases involving student discipline are

confidential and cannot be discussed. (A356-61.) He assured Mr. Parks the District

was taking the matter very seriously and that racism would not be tolerated by the

District. (Id.)

       At 1:40 p.m., community member Maritza Joya emailed Superintendent

Evans and Principal Davis to advise she “came across disturbing photos of some [ ]

students mocking/posing in a way that is very disrespectful to the BIPOC+


                                            17
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 26 of 69




community.” (A363.) Her email continued:

           Acting in a way that picks fun at a murder over another human
           is not okay. This act is racist and hateful in every type of way.
           This can not [sic] be tolerated with in [sic] our community. You
           people as a district need to hold your students accountable for
           their actions. I truly hope that you will do right and hold them
           accountable for their behavior.

           This community is depending on you to make this right. (Id.)

      Superintendent Evans explained that the District was aware of the posts and

conducting an investigation, and that all cases involving student discipline are

confidential and cannot be discussed. (A-363.) He assured Ms. Joya the District was

taking the matter very seriously, that all students involved would be held accountable,

and that racism would not be tolerated by the District. (Id.)

      At 9:52 p.m., Kelsie Nolan emailed Superintendent Evans and Principal Davis

to report “abhorrent behavior” by District students. (A-365.) She wrote:

           I am ashamed and embarrassed to have any association with a
           town where people are allowed to behave in such a way as
           displayed online. If they are willing to post such egregious,
           horrifying, racist things online, I can only imagine what is said
           in private and even in school amongst friends. I have heard
           several reports of people saying these particular three kids have
           a pattern of saying antisemitic, homophobic, and obviously
           racist things….

           These 3 students are displaying sociopathic tendencies mixed
           with classic small town racism veiled as ignorance. It is clear
           you all on the administrative level are not doing enough to
           prevent racism and the intense level of moronic behavior
           displayed here. If this is a repeated problem that is being
           handled by shunning kids reporting it, you are all failing in

                                          18
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 27 of 69




           shaping the next generation. It is lazy and unethical to continue
           to allow these students to bully, harass, and demean other
           students, God help the word if these 3 even dream of working
           in law enforcement. (A-365.)

       Ms. Nolan called for: (1) swift severe action against these students, (2) an

anti-racism education for all students and faculty; and (3) a plan as to how to

properly punish and re-educate students who display racist, homophobic, or anti-

Semitic rhetoric or action in the future. (A-365.) Superintendent Evans responded

as he did to the prior emails. (A-365.)

       At 11:24 p.m., Catherine Skalda emailed Superintendent Evans, Principal

Davis, and High School Guidance Counselor Christian Towsley to report

“disturbing photos” that a group of students posted on social media. (A-367.) She

requested the District address the matter appropriately (Id.) Superintendent Evans

responded as he had to the other emails. (A-367.)

       On April 21, Elena Haskins emailed Superintendent Evans and Principal

Davis to report “disturbing behavior” from District students and identified Leroy

by name. (A-369-71.) She reported that images were circulating social media, and

she described them as “extremely disrespectful and mocking a devastating and

racist murder.” (Id.) Superintendent Evans responded as he did previously. (A-369-

71.)

       Jay Quintance, the President of SUNY Sullivan Community College,

emailed Superintendent Evans to report the incident, and identified Leroy by name.

                                          19
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 28 of 69




(A-373-74.) Mr. Quintance inquired as to whether any of the students involved had

visited his campus and what consequences they would face for their “disgusting

display of hate.” (Id.)

      Superintendent Evans and Principal Davis responded to most of the emails

they received, which took time away from their regular District operations. (See

gen., A-472-79.)

      C. The Photos Circulating Social Media Not Only Yielded Angry Phone
         Calls from the Community; the Substantial Disruption to the School
         Took Many Other Forms Including Interruptions with Teacher
         Instruction, a Planned Student Protest, a Police Presence on School
         Grounds, and Media Inquiries and Attention

      On the evening of April 19, Superintendent Evans and Principal Davis

discussed the emails they had received, the comments and threats posted on social

media, and safety concerns in their school. (A-472-73, ¶9; A-481, ¶7; see also A-

272-73.) For the safety of the students involved, they requested Leroy and the others

not come to school the following day, but requested they come in to be interviewed

in connection with the investigation. (A-472-73, ¶9; A-481, ¶¶7-8; see also A-134-

135; A-167-68; A-183-84; A-185; A-223-24; A-228; A-272-73; A279-80.)

      The photos were widely disseminated throughout the community, and a major

topic of discussion throughout the school day, including during class time. (A-278;

A-474, ¶13; A-481-82, ¶9; A-485, ¶5.) Students discussed the photos both during

and in between classes. (A-278; A-474, ¶13; A-481-82, ¶9; A-485, ¶5.) High school



                                         20
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 29 of 69




staff and teachers felt compelled to hold discussions with students in their

classrooms about the social media posts, which interrupted their regular periods of

instruction. (A-474, ¶13.) District administrators were approached by multiple staff

members who requested to know how the District planned to respond to the unrest

created by the photos. (A-474, ¶13; A-481-82, ¶9.)

      District administrators also learned of a student protest, which students

planned to livestream during the school day and on school grounds to express their

disagreement with the images on social media and their connotations. (A-278; A-

474, ¶14; A-482, ¶10; A-485, ¶6.)

      In response to the disruption, as well as the concerns expressed to District

administrators and staff, the administrative team planned and coordinated an

assembly for students in grades 7-12 in the gymnasium of the school to address the

photographs and the resulting disruption. It was attended by all 7-12 grade students,

teachers, guidance counselors, and administrators who were in the building that day

(April 20, 2021). (A-474, ¶15; A-482, ¶11; -485, ¶7.)

      Superintendent Evans purposefully scheduled the assembly at the same time

as the planned student protest to avoid the disruption he anticipated it would create

and to prevent students from leaving school grounds, which would have created

further security and safety concerns. (A-278; A-474-75, ¶16.)

      Although District officials believed the assembly was necessary under the


                                         21
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 30 of 69




circumstances, it still interrupted approximately 200 students’ class schedules and

interfered with Middle School and High School teachers’ ability to provide

instruction to their students. (A-474-75, ¶16.)

      During the assembly, Superintendent Evans informed the students that the

District was aware of the posts, was taking the matter seriously and working to

address racism, that an investigation was occurring, and that student discipline is a

confidential matter that cannot be discussed. (A-278-79; A-474, ¶17; A-482, ¶12;

A-485, ¶8.) District administrators also informed students that school counselors

would remain available for anyone who needed counseling in relation to the

circulation of the photos. (A-574, ¶17.)

      After the assembly, some students held a demonstration in the gymnasium:

they knelt for nine minutes to symbolize the nine minutes Derek Chauvin held his

knee on the neck of George Floyd until he died—the incident that Leroy and his

friends had mimicked. As the demonstration required student supervision, Mr.

Towsley remained in the gymnasium with the students to supervise it. (A-574, ¶18;

A-485, ¶8; A-505, ¶105; see also A-279.) This also caused a disruption to these

students’ schedules. (Id.)

      After the demonstration ended, the remaining students relocated to the

school’s health room where they engaged in a discussion about the photos, racism,

insensitivity, and George Floyd. (A-485, ¶ 9.) Mr. Towsley supervised this follow-


                                           22
                Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 31 of 69




up discussion while other District personnel patrolled the hallways. (Id.) New York

State Trooper and law enforcement officers from the Sheriff’s Department remained

on school grounds throughout the day, which prompted further inquiries from

concerned parents. (A-74, ¶19.)

       Also on April 20, Superintendent Evans released an official statement to the

school community, which he posted on the District’s website. He indicated the

District was aware some students had posted inappropriate photos and comments

on social media, and that the District takes such matters very seriously. He

explained that the District was investigating the matter but all cases involving

student discipline are confidential and cannot be discussed. Evans also apologized

on behalf of the District for the student behavior and stated that “racism cannot and

will not be tolerated” by the District. (A-376; A-475-76, ¶20.) Superintendent

Evans felt compelled to address the school community directly given the large

number of complaints the District received from students and parents. (A-475, ¶

20.)

       By April 21, 2021, a News12 story broke about the photos, which prompted

various requests by the media to the District, further interrupting its operations. In

May 2021, the District held two days of training regarding implicit bias. (A-478-79;

A-507, ¶114.)




                                          23
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 32 of 69




      D. While Managing the Substantial Disruption to the Learning
         Environment, the District Also Commenced an Investigation on April
         20, 2021

      On April 20, 2021, Superintendent Evans and Principal Davis began an

investigation. (A-476, ¶22; A-482, ¶13.) They interviewed several students (in the

presence of their parents/guardians), including Leroy, Student A, and Student B,

who all claimed the posting was a joke. (A-476, ¶23; see also A-207-08; A-275; A-

406; A-409; A-411; A-419.)

      Leroy and his father, Gordon Leroy, met with Superintendent Evans and

Principal Davis in Evans’ office. (A-476, ¶23; see also A-169-70; A171-72.) Leroy

admitted to posting the April 19 Photo as a joke. (A-275; A-406; A-419; A-476,

¶23.) Superintendent Evans explained the issue was very serious, it was viewed as

racist, and it caused a significant disruption throughout the school district. He also

advised Leroy would receive a letter suspending him for five days and that he may

have to undergo a Superintendent’s hearing. (A-407; A-476, ¶24.)

      Superintendent Evans and Principal Davis also interviewed Student A. (A-64;

A-476, ¶22.) Student A informed them he had added the BLM Logo. (A-207; A-276;

A-419; A-476, ¶¶22, 25.) Student B said Student A posted the photo with the BLM

logo, and that he and Leroy re-posted the photo afterwards. (A-411-12; A-476, ¶26.)

      On April 21, 2021, Leroy was suspended from school for five days. (A-380;

A-477, ¶28.)



                                         24
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 33 of 69




      E. The District Hired an Attorney to Investigate the Matter and Provide
         a Report Regarding Potential Discipline
      On April 21, the District hired attorney Bethany Centrone (legal counsel for

Capital Region BOCES) to investigate the matter. (A-383; A-477, ¶29.) She

interviewed Superintendent Evans, who stated addressing the posts had been all

consuming and he had to work to ward off a student protest against the posts (A-

383-86.) She learned from interviewing students that since the Snapchat posts were

uploaded “everyone has been talking about it” and it was interfering with the ability

to do their schoolwork. (A-386-87.)

      On April 23, 2021, Centrone issued a report that concluded there was

sufficient evidence to determine Leroy engaged in behaviors that violated the Code

of Conduct. (A-382-90; A-477, ¶30.) She determined the following Code of Conduct

provisions were implicated:

           Article Vl(A-)(5) - Engaging in any willful act which disrupts
           the normal operation of the school community.

           Article IV(C)(3) - Display or use of personal electronic devices
           ... in a manner that is in violation of district policy.

           Article IV(E)(4) - Discrimination, which includes using race,
           color ... to deny rights, equitable treatment or access to facilities
           available to others.

           Article IV(E)(5) - Harassment, which includes a sufficiently
           severe action... directed at an identifiable individual or group
           which [is] intended to be, or which a reasonable person would
           perceive as ridiculing or demeaning. Harassment is also the
           creation of a hostile environment.


                                            25
                Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 34 of 69




           Article IV(H) - Engage in off-campus misconduct that
           interferes with, or can reasonably be expected to substantially
           disrupt the educational process in the school or at a school
           function.

(A-388-89.)

      Centrone’s report also set forth her investigatory findings. (A-389.) She

found Leroy admitted to being involved in the wrongful conduct and, at a minimum,

had asked Student B to send him the photo so he could post it. (Id.) She noted: “It

is clear from the reaction of the community to the posts that a reasonable person

would perceive the post as ridiculing or demeaning. While the students stated that

they intended the posts to be funny or a joke, by their nature, the posts are targeted

at African Americans and are discriminatory.” (A-389.)

      Centrone found Superintendent Evans’ description of the disruption he was

required to address following the posting of the photos “sufficiently demonstrates that

the educational process has been substantially disrupted since April 19, 2021.” (A-389;

A-510, ¶131.)

      Centrone concluded her “investigation revealed sufficient evidence to

determine the students engaged in behaviors that violated the District’s Code of

Conduct.” (A-390; A-477, ¶30.) Accordingly, she recommended the students be

referred to a Superintendent’s hearing to determine if additional discipline was

warranted. (A-390; A-477, ¶30.)




                                          26
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 35 of 69




        F. Based on the Investigator’s Recommendation, the Superintendent
           Charged Plaintiff with Violating the Code of Conduct and Scheduled
           a Superintendent’s Hearing

        Based on the recommendation from Centrone, Superintendent Evans charged

Leroy with Code of Conduct violations for “posting racially offensive material on

social media on or about March 25, 2021 and April 19, 2021 which have resulted in

a substantial disruption to the school environment.” (A-456-57; A-477, ¶31.) The

charges were consistent with those Centrone recommended in her investigation

report. (A-388-389; A-456-57.)

        A Superintendent’s hearing was scheduled for April 27, 2021, and Kate Reid

served as a Hearing Officer. (A-456-57; A-477, ¶¶31-32.) Leroy voluntarily testified

under oath during the hearing. (A-149; A-152; A-477-78, ¶33.) He admitted he was

in the April 19 Photo, and that he posted it on social media with the caption “Cops got

another.” (A-261.) He admitted he took the March 25 photo during his first period

English class. (A-264-65.) And he admitted he understood why the statement was

insensitive and may have been perceived that way. (A-152; A-268.)

        Superintendent Evans testified. When asked about disruption, he explained

that he and other District employees received a flurry of emails and communications

from staff, students, community members, and people outside of the community. (A-

278.)




                                          27
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 36 of 69




      G. After the Superintendent’s Hearing, the Hearing Officer Found
         Plaintiff Guilty of Two Charges and Recommended Additional
         Suspension; Superintendent Evans Adopted Her Findings and
         Included a Suspension from Extracurricular Activities

      On April 28, 2021, Hearing Officer Reid issued a Findings of Fact and

Recommendation, in which she memorialized her findings and recommended Leroy

be suspended through May 21 with the option to return early on May 10 if he signed

a student contract. (A459-62; A478, ¶¶34-35.) She considered the disruption the

photographs caused to the school environment. (A459-62.)

      In her Findings of Fact and Recommendation, the Hearing Officer concluded:

           The Superintendent testified in great detail regarding the
           disruption to the school environment created by both of the
           pictures posted by Case on social media. The posts drew
           significant attention from the news media (both television and
           newspaper) and the community that necessitated considerable
           response from the Superintendent and the Building Principal.
           The Superintendent needed to intervene because students at the
           Middle/High School planned a demonstration to protest the
           posts, which they uniformly perceived as racist. The postings
           necessitated that the Superintendent schedule an assembly for
           students in grades 7-12 to explain that the District was taking
           the matter seriously and working to address racism in the
           District. All told, the posts resulted in substantial interruptions
           in instruction and required substantial attention and
           intervention by multiple school administrators.

(A459-60.)
     Based on those findings, the Hearing Officer found the District sustained its

burden regarding Charges 1 and 5 by providing competent and substantial evidence

demonstrating two Code violations. (A-460; A-478, ¶34.) She determined:



                                           28
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 37 of 69




           Any reasonable person would construe the content of both
           photos as racially insensitive, particularly in light of the close
           proximity between the posting of the photos and the Derek
           Chauvin trial. Case’s professed ignorance of the trial and the
           connotations of the photo do not excuse his actions. Any
           reasonable student of Case’s age and maturity should have been
           aware that the photos would be construed as a racially
           insensitive mockery of the murder of George Floyd. Case either
           knew or should have known that posting this picture would
           create a substantial disruption of the school environment.

(A-460 [emphasis added].)

      The Hearing Officer also concluded that Superintendent Evan’s testimony

“established Plaintiff’s actions resulted in multiple days of disruption to the school

district; considerable interruptions in instruction; [and] great distress on the part of

multiple students and community members.” (A-460.)

      The Hearing Officer notably determined Leroy’s actions “resulted in

allegations that the District, itself, was condoning racism” and that “[t]hese

allegations have harmed the District’s relationship with its community and will

need to continue to be addressed by the District’s administration, long after the

conclusion of this hearing process.” (A-460.)

      After reviewing the Hearing Officer’s recommendations and the full hearing

record, Superintendent Evans accepted the Hearing Officer’s findings and

suspended Leroy for a period of instruction through May 21, 2021, and from non-

academic, extracurricular activities, for the remainder of the school year. (A-464-

65; A-478, ¶36; A-513, ¶152.) He permitted Leroy to return from suspension on

                                           29
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 38 of 69




May 10, 2021, after he signed a contract of conduct. (A-464-65; A-478, ¶37.)

      Leroy appealed Evans’ decision to the Board, which affirmed it. (A-478,

¶38.) The next step would have been to appeal the Board’s decision to the

Commissioner of Education, but Leroy never took this step; instead he filed a

lawsuit. (A-478, ¶39.)

      Leroy was permitted to attend the high school graduation, after obtaining

injunctive relief from Judge Julian Schreibman of the New York State Supreme

Court, County of Sullivan. (A-35, ¶4; A-159.)




                                        30
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 39 of 69




                          SUMMARY OF ARGUMENT

                    Conduct by a student, in class or out of it,
                    which for any reason—whether it stems from
                    time, place, or type of behavior—materially
                    disrupts classwork or involves substantial
                    disorder or invasion of the rights of others is
                    not immunized by the constitutional
                    guarantee of freedom of speech.

Mahanoy Area Sch. Dist. v. B. L. by & through Levy, 594 U.S. 180, 186 (2021)

(citing Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503 (1969)).

      Mahanoy absolutely left open a school’s right to discipline students for off-

campus speech. While that right may be diminished because of the forum in which

it takes place, the use of social media brings outside speech into the school, blurring

the on-campus/off-campus distinction. When Leroy broadcast his racist “joke” to

the majority of his classmates, it instantaneously and effectively transmitted through

the schoolhouse gate.

      Appellant erroneously relies on the concurring opinion in Mahanoy, which far

more narrowly circumscribes a school’s right to regulate off-campus speech than the

majority holding. Id. at 188 (“The school’s regulatory interests remain significant in

some off-campus circumstances.”). The Court’s majority unquestionably rejected

the Third Circuit’s rigid prohibition on regulation of off-campus speech, and it left

open for other courts to decide the various ways in which “ordinary First

Amendment standards must give way off campus to a school’s special need to



                                          31
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 40 of 69




prevent, inter alia, a substantial disruption of learning-related activities or the

protection of those who make up a school community.” Id. at 189 (“Neither do we

now know how such a list might vary, depending upon a student’s age, the nature of

the school’s off-campus activity, or the impact upon the school itself.”).

        The cursing cheerleader in Mahanoy engaged in speech that criticized “the

rules of [her] community.” Id. It was not “obscene,” and it did not cause “the sort of

‘substantial disruption’ of a school activity or a threatened harm to the rights of

others that might justify the school’s action.” Id. at 192 (citing Tinker, 393 U.S. at

514).

        This case is different. Leroy staged a re-enactment of the infamous execution

of a Black man and disseminated it to the majority of his high school class through

social media, with the caption, “Cops got another.” He did not do it to make any

lofty political statement; it was a “joke.”

        Leroy’s post not only went instantly viral in the community, it immediately

arrived on the doorstep of the school. Within hours, the administrators and teachers

were flooded with emails complaining about racism in the school district, concerns

about safety, fears, and calls for action. The barrage of emails, phone calls, and text

messages continued into the next day from concerned and angry students, parents,

community members, and local organizations. The safety and security threat was so

grave that it required the presence of New York State and local law enforcement


                                              32
                Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 41 of 69




throughout the day. Leroy and the other boys were compelled to remain at home for

their safety. Discussions among students and faculty interrupted classroom

instruction. Students planned to livestream a protest and then held a sit-in. The

Superintendent was compelled to hold an impromptu assembly. Students required

counseling. Then the media brought significantly more attention to the matter, and

the disruptions continued throughout the remainder of the year. Tinker and Mahanoy

allow schools to regulate speech that causes such a substantial disruption in school.

If there is a case for substantial disruption, this is it.

       The Court should disregard Leroy’s viewpoint discrimination claim, which

was never raised below and unpreserved for appellate review. Regardless, this new

theory of liability fails as Leroy’s actions and his dissemination of offensive material

was the cause of the disruption; the outrage by others was the effect. Such viewpoint-

based claims are a poor fit for the school environment, particularly here where

teaching tolerance and respect are fundamental to the educational mission. So too,

Appellant’s unpreserved “heckler’s veto” argument (based on the Mahanoy

concurrence and not the holding) does not apply in the school context, as Tinker and

Mahanoy permit regulation based on the disruption caused by the student’s speech.

       Appellant abandoned his previously-asserted claims for violations of state

constitutional law and defamation, and for injunctive relief. (SPA-10, 19-20.) “An

argument not raised in an appellate brief is deemed abandoned and lost.” United


                                             33
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 42 of 69




States v. Joyner, 313 F.3d 40, 44 (2d Cir. 2002). This Court should also affirm the

dismissal of the official capacity claim against John Evans, since it was duplicative

of the claim asserted against the District itself.




                                           34
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 43 of 69




                                     ARGUMENT
      POINT I: MAHANOY PERMITS SCHOOLS TO REGULATE OFF-
              CAMPUS SOCIAL MEDIA SPEECH IF IT CAUSES A
              SUBSTANTIAL DISRUPTION TO THE EDUCATIONAL
              ENVIRONMENT

        The rubric set forth in Mahanoy compels the conclusion that Leroy’s

discipline did not violate the First Amendment. In Mahanoy, a student who did not

make the varsity cheerleading squad posted a photo on Snapchat in which she raised

her middle finger with the caption, “Fuck school fuck softball fuck cheer fuck

everything.” Mahanoy, 594 U.S. at 185. The photo eventually reached school staff,

who suspended her from cheerleading because the posts used profanity in connection

with a school extracurricular activity and therefore violated team and school rules.

Id.

        Although the Court held the school violated the First Amendment under that

limited circumstance, it recognized a “school’s regulatory interests remain

significant in some off-campus circumstances.” Id. at 188. The Court declined to set

any bright-line rule and left it for “future cases to decide,” as the specific facts merely

provided “one example” of when a school may not discipline for off-campus speech.

Id. at 190. The Court weighed the student’s free speech rights against the school’s

interest in teaching good manners and punishing the use of vulgar language, and

decided the student’s speech outweighed the school’s regulatory interest in that

instance. Id. at 189-90. While the Court found that schools have a “diminished” right


                                            35
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 44 of 69




to regulate off-campus speech, the holding was decidedly premised on the absence

of any evidence that the speech “caused substantial disruption of learning-related

activities or the protection of those who make up a school community.” Id. at 189.

      The application of Tinker’s substantial disruption standard to this case is not

circumscribed by the Supreme Court’s restricted holding in Mahanoy. See Tinker,

393 U.S. at 513. Under Tinker, discipline for student speech must be caused by

something more than a mere desire to avoid the discomfort and unpleasantness that

always accompany an unpopular viewpoint. Wisniewski v. Bd. of Educ. of Weedsport

Cent. Sch. Dist., 494 F.3d 34, 38 (2d Cir. 2007). But discipline is warranted where

student conduct would “materially and substantially disrupt the work and discipline

of the school.” Tinker, 393 U.S. at 508, 511–14; see also Cuff ex rel. B.C. v. Valley

Cent. Sch. Dist., 677 F.3d 109, 112–13 (2d Cir. 2012). Courts recognize that school

administrators should be given leeway to address any potential disruption before it

manifests itself, and “under Tinker, it is the objective reasonableness of the school

administrators’ response, rather than the student’s private intentions, that are

relevant.” Cuff ex rel. B.C., 677 F.3d at 114.

      “The question [under Tinker] is not whether there has been actual disruption,

but whether school officials ‘might reasonably portend disruption’ from the student

expression at issue.” Doninger v. Niehoff, 527 F.3d 41, 51 (2d Cir. 2008) (citing

LaVine v. Blaine Sch. Dist., 257 F.3d 981, 989 (9th Cir. 2001); DeFabio v. E.


                                          36
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 45 of 69




Hampton Union Free Sch. Dist., 658 F. Supp. 2d 461, 481 (E.D.N.Y. 2009), aff'd,

623 F.3d 71 (2d Cir. 2010)).

      In the context of Tinker’s substantial disruption test, “School authorities are

entitled to exercise discretion in determining when student speech crosses the line

between hurt feelings and substantial disruption of the educational mission, because

they have the relevant knowledge of and responsibility for the consequences.”

Zamecnik v. Indian Prairie Sch. Dist. No. 204, 636 F.3d 874, 877–78 (7th Cir. 2011).

In this vein, this Court has always been mindful that “[i]t is not the role of the federal

courts to set aside decisions of school administrators which the court may view as

lacking a basis in wisdom or compassion.” See Wisniewski, 494 F.3d at 40 (quoting

Wood v. Strickland, 420 U.S. 308, 326 (1975)).

      Appellant reads the Mahanoy holding too narrowly. The Mahanoy holding

did not wipe out these fundamental principles of school First Amendment

jurisprudence, nor did it eliminate a school’s ability to discipline off-campus speech

that causes a material and substantial disruption to school operations. The district

court correctly held that the fact that Leroy’s speech occurred off campus is relevant

to his First Amendment claim. But it is not dispositive.

      The Third Circuit in Mahanoy held as a matter of first impression that Tinker

does not apply to off-campus speech and therefore did not justify punishing the

student. See Mahanoy, 964 F.3d 170, 191 (3d Cir. 2020), aff'd but criticized, 594


                                           37
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 46 of 69




U.S. 180 (2021). Although the Supreme Court affirmed the finding that the school

district violated the student’s First Amendment rights by disciplining her for her off-

campus social media rant, it categorically rejected the notion that Tinker can never

apply to off-campus speech. Id. at 188. On the contrary, the Court found “the

school’s regulatory interests remain significant in some off-campus circumstances.”

Id. Those circumstances include the type of substantial disruption to school activity

that satisfies Tinker’s demanding standard. Id. at 192–93. Thus, while the school’s

discretion to regulate speech is “diminished” when speech takes place off campus,

the Court unequivocally rejected the Third Circuit’s notion that “the special

circumstances that give schools additional license to regulate student speech always

disappear” when the speech takes place outside of school. Id. at 188.

      While the Mahanoy Court identified some examples of off-campus speech in

which the school’s regulatory interests remain “significant,” the Court noted the list

was compiled by the parties and the amici, and was by no means exhaustive. Id. at

189. The Court explicitly declined to circumscribe the situations when schools may

regulate off-campus speech:

             Thus, we do not now set forth a broad, highly general First
             Amendment rule stating just what counts as “off campus”
             speech and whether or how ordinary First Amendment
             standards must give way off campus to a school’s special
             need to prevent, e.g., substantial disruption of learning-
             related activities or the protection of those who make up a
             school community.


                                          38
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 47 of 69




Id.

      Notably, courts permit schools to regulate off-campus speech that involves

bullying, harassing, targeting, or threatening particular students or teachers who

happen to attend the same school. See id. at 188; see also Wisniewski, 494 F.3d at

38; Doninger, 527 F.3d 41; Bradford v. Norwich City Sch. Dist., 54 F. Supp. 3d 177

(N.D.N.Y. 2014). This is necessarily because the targeting of individuals is likely to

cause a substantial disruption to the school. See, e.g., Wisniewski, 494 F.3d at 39

(“We have recognized that off-campus conduct can create a foreseeable risk of

substantial disruption within a school.”) (citing Thomas v. Bd. of Ed., Granville Cent.

Sch. Dist., 607 F.2d 1043, 1052 (2d Cir. 1979); Doe v. Pulaski Cnty. Special Sch.

Dist., 306 F.3d 616, 625 (8th Cir. 2002); Sullivan v. Houston Indep. Sch. Dist., 475

F.2d 1071, 1075 (5th Cir. 1973); J.S. ex rel. H.S. v. Bethlehem Area Sch. Dist., 757

A.2d 412, 421 (Pa. Commw. Ct. 2000), aff'd, 569 Pa. 638, 807 A.2d 847 (2002)).

      In Kutchinski as next friend to H.K. v. Freeland Cmty. Sch. Dist., 69 F.4th 350

(6th Cir. 2023), the plaintiff created a fake Instagram account in which he and his

friends impersonated one of their teachers. They added graphic, harassing and

threatening content. Id. at 354. Since the plaintiff “bore some responsibility for the

speech and the speech substantially disrupted classwork (or Defendants reasonably

believed the speech would disrupt classwork),” the court held the defendants could

discipline the student for the off-campus speech. Id. at 358.


                                          39
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 48 of 69




      The principle that ties these cases to Tinker is the likelihood that bullying or

harassing an individual who happens to attend the same school may lead to a

substantial disruption of learning-related activities or the protection of those who

make up a school community. See Mahanoy, 594 U.S. at 189.

      Leroy’s conduct was arguably more likely to cause a substantial disruption

and invade the rights of others. Although not directed at a particular individual in

the school, Leroy’s post targeted a class of people who reasonably felt bullied,

harassed, and unsafe in school. The photo did not just imitate the murder of an

unarmed Black man, it celebrated it with a “thumbs up,” a smile, and Leroy’s added

caption: “Cops Got Another.” In posting the photo, Leroy targeted a race of people

and broadcast it to the majority of his classmates. If anything, his actions were more

likely to cause a substantial disruption in the school than the bullying of a single

person. It makes little sense under Tinker to allow a school to discipline the off-

campus bullying of a single individual who happens to attend the same school while

foreclosing the school from disciplining a student who causes a disruption by

targeting a group of people.

      Appellant’s suggestion that “no one interpreted Leroy’s social media post as

a threat of violence” is misleading, as students expressed feeling unsafe in school. It

is not unreasonable for students, particularly Black students, to view the re-

enactment of the murder of a Black man with a “thumbs-up” as a threat of violence


                                          40
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 49 of 69




towards Black people. Towards them.

      Appellant also argues the school has a heavy burden to justify the regulation

of political or religious speech. But this was neither. Leroy and his friends claim to

have intended the post as a “joke.” (A-207-08, 275 406, 409.) The cheerleader in

Mahanoy was at least criticizing the team, the coaches, and the school, which the

Court characterized as “rules of the community in which B.L. forms a part.”

Mahanoy, 594 U.S. at 191. Jokes may be protected speech, but the value of the

speech inherent in this joke cannot outweigh the school’s interest in preventing

disruption and protecting its students.

      Leroy actually denied an intention to make any kind of statement about

George Floyd (or otherwise). See Clark v. Cmty. for Creative Non-Violence, 468

U.S. 288, 294 (1984) (“[I]t is the obligation of the person desiring to engage in

assertedly expressive conduct to demonstrate that the First Amendment even

applies.”). He had the burden to demonstrate conduct “sufficiently imbued with

elements of communication to fall within the scope of the First and Fourteenth

Amendments.” Texas v. Johnson, 491 U.S. 397, 404 (1989) (quoting Spence v. State

of Wash., 418 U.S. 405, 409 (1974)). “In deciding whether particular conduct

possesses sufficient communicative elements to bring the First Amendment into

play, [the Supreme Court] has asked whether an intent to convey a particularized

message was present, and whether the likelihood was great that the message would


                                          41
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 50 of 69




be understood by those who viewed it.” Id. (cleaned up).

      Leroy disavowed an intent to communicate a message through the photograph

or his Snapchat post. (A-95-98.) In doing so, he disavowed, or at least diminished,

the expectation of First Amendment protection. See Zalewska v. Cnty. of Sullivan,

New York, 316 F.3d 314, 319 (2d Cir. 2003) (In the school context, “Action

attempting to communicate such a ‘vague and unfocused’ message is afforded

minimal if any First Amendment protection.”); Church of Am. Knights of the Ku

Klux Klan v. Kerik, 356 F.3d 197, 207 (2d Cir. 2004) (KKK masks not expressive

conduct under First Amendment); see also Cheadle on behalf of N.C. v. N. Platte R-

1 Sch. Dist., 555 F. Supp. 3d 726, 734 (W.D. Mo. 2021) (student’s photo depicting

her drinking alcohol not expressive conduct under First Amendment), appeal

dismissed, 2021 WL 7186863 (8th Cir. Nov. 2, 2021); Heller v. Bedford Cent. Sch.

Dist., 665 F. App’x 49, 53 (2d Cir. 2016) (gun purchase not expressive conduct).

      Appellant notes that schools have an interest in protecting unpopular

expression, citing the Mahanoy concurrence. But what is the unpopular expression

at issue here? The execution of George Floyd was something to be celebrated?

Something to poke fun at? If this photo had been taken in the school parking lot and

then posted on Snapchat, no one would question the school’s ability to discipline

Leroy. See e.g., Morse v. Frederick, 551 U.S. 393 (2007) (school discipline

permitted of student who held banner with phrase “Bong Hits 4 Jesus” at school


                                        42
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 51 of 69




function).

       Yet there was no functional difference; the impact was the same because it

was spread through the same medium as it would have in that circumstance. Social

media has changed the boundaries of the schoolhouse gates. Students can post on

social media from anywhere and affect the school environment as if they were in

school.

      Appellant praises the 45-year-old Thomas case for its dicta. 607 F.2d at 1050.

But Thomas involved an underground publication that the students “diligently

labored” to keep out of school and there was no evidence of a substantial disruption.

Id. This Court has historically acknowledged the rights of school administrators to

discipline a student for off-campus speech. In Doninger, the plaintiff posted a blog

that called school administrators “douchebags,” encouraged students to contact an

administrator “to piss her off more,” and contained misleading information about a

school event from which school officials “might reasonably portend disruption.” 527

F.3d at 51. This Court denied the plaintiff’s preliminary injunction because “it was

reasonably foreseeable that her posting would reach campus where it would create a

foreseeable risk of substantial disruption within the school environment. Id. (“School

officials have an affirmative duty to not only ameliorate the harmful effects of

disruptions, but to prevent them from happening in the first place.”).

      Mahanoy did not overrule Doninger, as Appellant suggests. The Snapchat


                                         43
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 52 of 69




post in Mahanoy was arguably less offensive and certainly less likely to cause

disruption than the call to action in the Doninger blog. Id. at 184-85. In fact, Justice

Alito’s dissent distinguished Doninger and other similar cases that involved

criticism of administrators, teachers, and other staff members from Mahanoy which

“simply involve[d] criticism (albeit in a crude manner) of the school and an

extracurricular activity.” Mahanoy, 594 U.S. at 209. The facts of Doninger are surely

different, but the principle for which the district court cited it stands: that

“Defendants reasonably foretold a substantial disruption given the barrage of emails

they received the night the photo was posted from students and community members

alike.” (SPA-17.)

      Appellees recognize off-campus speech is subject to heightened scrutiny

under Mahanoy. But in the age of social media that blurs the line between on- and

off-campus speech, schools must be permitted to regulate the conduct of their

students when it creates an anticipated or actual substantial disruption or threatened

harm, as it did here.



POINT II:    APPELLANT’S SNAPCHAT POST CAUSED A SUBSTANTIAL
             DISRUPTION TO THE EDUCATIONAL ENVIRONMENT

      Appellant’s assertion that the disruption is “not meaningfully different” from

that in Mahanoy ignores the record in this case. The disruption here was so

overwhelming and severe that it grinded the regular school day to a halt. This is in


                                          44
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 53 of 69




stark contrast to Mahanoy or any of the other cases Appellant cites.

      Livingston Manor is a small town, with one school for K-12 and 420 students;

Leroy’s senior class had only 40 students. District administrators were immediately

and continually flooded with emails and phone calls from concerned and angry

students, parents, community members, neighboring school administrators

(including the President of SUNY Sullivan), and local organizations, such as SARE

(Students Against Racism in Education).

      Appellant’s effort to minimize the extent of the disruption by counting and

paraphrasing emails in their appendix ignores the relative enrollment of the school,

the size of the community, the fervor of the communications and the disruption they

forecasted, and the time it took for educators to review and respond to them and

address and quell the disruption.

      The response led to concerns for the safety of several students, including

Leroy. Talk of the racist posts permeated the classrooms and hallways. Staff members

demanded to know how the District planned to respond to the unrest created by the

posts. Students planned to livestream a protest, prompting further concern about

student safety. The administration was compelled to break from classroom

instruction to hold an impromptu assembly for grades 7-12 to prevent students from

leaving school grounds in the planned vigil, which would have created more

disruption and safety and security concerns. Staff time was needed to supervise the


                                        45
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 54 of 69




students’ sit-in vigil. The matter prompted State and local law enforcement presence

at the school for the day, which caused further inquiries from concerned parents.

And District officials spent time addressing the media attention and ongoing

community concerns.

      The Mahanoy cheerleader caused no such disruption. Mahanoy, 594 U.S. at

192 (“But we can find no evidence in the record of the sort of ‘substantial disruption’

of a school activity or a threatened harm to the rights of others that might justify the

school’s action.”) The record showed that discussion of the matter “took, at most 5

to 10 minutes of Algebra class for ‘just a couple of days’ and that some of the

members of the cheerleading team were ‘upset’ about the content of B.L.’s

Snapchats.” Id. But the coach testified she did not have “any reason to think that this

incident would disrupt class or school activities other than the fact that kids kept

asking . . . about it.” Id. That was it. Accordingly, the Court held “[t]he alleged

disturbance [did] not meet Tinker’s demanding standard.” Id. at 193. Appellant’s

comparison of the facts of these two cases strains credulity, to say the least.

      Leroy cites other cases where the defendants could not demonstrate a

substantial disruption. In C1.G on behalf of C.G. v. Siegfried, 38 F.4th 1270 (10th

Cir. 2022), the plaintiff was disciplined for his off-campus Nazi-related hate speech.

On a motion to dismiss standard, the court found that the “Complaint alleges no

reasonable forecast of substantial disruption or actual disruption,” and accordingly


                                          46
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 55 of 69




cannot be dismissed at this stage.” Id. at 1279. While some of the facts are similar,

there was notably less disruption in Siegfried than here. Id. at 1278 (a few parents

emailed about it but only one email was identified, one family complained it scared,

angered and saddened them, and one “advisory period” was used to discuss the post).

The Tenth Circuit viewed the disruption with too narrow a lens under Mahanoy, and

the facts here demonstrate far more anticipated and actual disruption that warranted

the discipline. Appellant also references Wang v. Bethlehem Cent. Sch. Dist., No.

121CV1023 (LEK)(DJS), 2022 WL 3154142 (N.D.N.Y. Aug. 8, 2022), another case

decided on a pre-answer motion to dismiss. There the plaintiff’s creation of a social

media “Bracket” seeking to identify “the two most liked or admired girls”

communicated to a small group of friends and included no abusive language, did

not, on the pleadings, suggest a substantial likelihood of disruption. And in J.S. ex

rel. Snyder v. Blue Mountain Sch. Dist., 650 F.3d 915 (3d Cir. 2011), there was “no

dispute” among the parties that the plaintiff’s speech “did not cause a substantial

disruption in the school”; accordingly, the court found there were no facts to support

“the conclusion that a forecast of substantial disruption was reasonable.” Id. at 928;

see also Chandler v. Tech. Coll. of Lowcountry, No. 9:22-CV-01969-DCN, 2022

WL 2670806, at *5 (D.S.C. July 11, 2022) (nursing college student’s Facebook posts

complaining about vaccine requirements did not allege substantial disruption). As

for Leroy’s reliance on Thomas, 607 F.2d at 1052, “there was simply no threat or


                                         47
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 56 of 69




forecast of material and substantial disruption within the school” as evidenced by

the fact that “school officials were content to do nothing at all for six full days, until

called to action by the school board president.” Id. at 1052, n.17.

      Leroy attempts to distance himself from igniting the flame of disruption with

his Snapchat post by blaming the District for the disruption because of its efforts to

quell it. Superintendent Evans and others responded to emails, calls, and other

inquiries, and scheduled an assembly to prevent a demonstration that was likely to

create a safety and security problem with unsupervised minors leaving school

grounds. This was a response; not the cause of the disruption.

      Leroy’s assertion that he only shared the April 19 Photo (with caption) with

“a discrete circle of friends” is untrue. He posted it on his Snapchat story, making it

visible to all of his Snapchat friends—approximately 60-100 people, largely

consisting of Livingston Manor High School students. The District is small; there is

one school building that houses grades pre-K through 12, with only 200 students

between the 7th and 12th grades. By posting the April 19 Photo on his Snapchat story,

Leroy made the photo readily available to a large chunk of the student body.

      Simply put, if Mahanoy falls at one end of the spectrum of off-campus speech,

this case falls decidedly at the other end. Because the District did not violate Leroy’s

First Amendment rights when it disciplined him for his racist Snapchat Post that

substantially disrupted—in fact upended—the learning environment, Leroy’s First


                                           48
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 57 of 69




Amendment claims fail as a matter of law.


POINT III: THE COURT SHOULD NOT ENTERTAIN APPELLANT’S
           VIEWPOINT DISCRIMINATION AND HECKLER’S VETO
           ARGUMENTS THAT WERE NOT RAISED BELOW
           AND DO NOT APPLY

      A. The Claims Are Unpreserved for Appeal

      This Court should disregard Appellant’s viewpoint discrimination and

“heckler’s veto” arguments because they are unpreserved for appeal. Doe v. Trump

Corp., 6 F.4th 400, 410 (2d Cir. 2021) (“Where the claimant is represented by

counsel before the district court, the claimant must present the relevant legal

arguments in that forum in order to preserve them for appellate review.”) (collecting

cases); Tripathy v. McKoy, 103 F.4th 106, 118 (2d Cir. 2024) (“It is a settled

appellate rule that issues adverted to in a perfunctory manner, unaccompanied by

some effort at developed argumentation, are deemed forfeited.”) (quoting Tolbert v.

Queens Coll., 242 F.3d 58, 75 (2d Cir. 2001)); Goldman v. Rio, 788 F. App’x 82, 84

(2d Cir. 2019) (“conclusory, one-sentence argument is insufficient to preserve any

issue for appellate review”) (collecting cases).

      Arguments not presented to the district court “are considered waived or

forfeited and generally will not be considered for the first time on appeal.” Greater

New York Mut. Ins. Co. v. Burlington Ins. Co., No. 23-892, 2024 WL 1827249, at

*1 (2d Cir. Apr. 26, 2024) (quoting United States v. Gomez, 877 F.3d 76, 94-95 (2d



                                          49
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 58 of 69




Cir. 2017)); see also Bey v. City of New York, 999 F.3d 157, 169 (2d Cir. 2021)

(Second Circuit does “not ordinarily entertain arguments raised for the first time on

appeal”) (collecting cases); United States v. Keshner, 794 F.3d 232, 234 (2d Cir.

2015) (“It is a well-established general rule that an appellate court will not consider

an issue raised for the first time on appeal.”).

      Although the Second Circuit may exercise discretion to entertain new

arguments “where necessary to avoid a manifest injustice or where the argument

presents a question of law and there is no need for additional fact-finding,” the

Second Circuit “normally will not exercise that discretion where those arguments

were available to the parties below and they proffer no reason for their failure to

raise the arguments below.” Singh v. Mem’l Sloan Kettering Cancer Ctr., No. 23-

63-CV, 2024 WL 4586396, at *2 (2d Cir. Oct. 28, 2024) (quoting Mhany Mgmt.,

Inc. v. Cnty. of Nassau, 819 F.3d 581, 615 (2d Cir. 2016)).

      Appellant may not raise these claims before this Court when they were never

presented to the district court.

      B. Viewpoint Discrimination is Inapplicable

      Viewpoint discrimination is “when the government seeks to regulate speech

when the specific motivating ideology or the opinion or perspective of the speaker

is the rationale for the restriction.” Kristoffersson on behalf of R.R. v. Port Jefferson

Union Free Sch. Dist., No. 22-CV-01741 (JMA) (ARL), 2023 WL 6119710, at *5


                                           50
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 59 of 69




(E.D.N.Y. Sept. 18, 2023), aff'd, No. 23-7232-CV, 2024 WL 3385137 (2d Cir. July

12, 2024) (quoting A.M. ex rel. McKay v. Taconic Hills Cent. Sch. Dist., 510 F.

App’x 3, 8 (2d Cir. 2013)). Such claims generally involve actions by government

officials taken to censor or prohibit a message from being communicated at a future

time and place, based on the content of that message. See Wang, 2022 WL 3154142,

at *23 (citing Peck v. Baldwinsville Cent. School Dist., 426 F. 3d. 617, 622 (2d Cir.

2005) (alleged viewpoint discrimination where school prevented student from

displaying poster containing religious imagery at assembly); McKay, 510 F. App’x

at 6. “This necessarily requires a reasonable inference that the government action

prevented spread of the viewpoint in the future, rather than merely an objection to

viewpoints stated in the past.” Id. Appellant has not challenged the prospective

application of a school district policy.

      Viewpoint discrimination does not apply in this context. It cannot be disputed

that schools may discipline students for engaging in acts of racial discrimination.

State, federal, and local laws not only prohibit racial discrimination in public

schools, they mandate anti-discrimination policies and practices. See, e.g. 42 U.S.C.

§ 2000d; N.Y. Exec. Law § 296(4); N.Y. Educ. Law § 12.

      In this light, the special characteristics of the school environment permit

regulation of viewpoints that demean or contain discriminatory messages towards

other students. See L.M. v. Town of Middleborough, Massachusetts, 103 F.4th 854,


                                           51
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 60 of 69




878 (1st Cir. 2024) (denying preliminary injunction to student who challenged dress

code that prohibited him from wearing shirt saying, “There Are Only Two Genders”

or even “Only Two”). “Part of a public school’s mission must be to teach students

of differing races, creeds and colors to engage each other in civil terms rather than

in terms of debate highly offensive or highly threatening to others.” Id. (quoting West

v. Derby Unified Sch. Dist. No. 260, 23 F. Supp. 2d 1223, 1233 (D. Kan. 1998), aff'd,

206 F.3d 1358 (10th Cir. 2000) (cleaned up; emphasis in original)); Hardwick ex rel.

Hardwick v. Heyward, 711 F.3d 426, 438 (4th Cir. 2013) (“The record contains

ample evidence from which the school officials could reasonably forecast that all of

these Confederate flag shirts would materially and substantially disrupt the work and

discipline of the school.”) (citing Tinker, 393 U.S. at 513); Defoe ex rel. Defoe v.

Spiva, 625 F.3d 324 (6th Cir. 2010) (same); Barr v. Lafon, 538 F.3d 554 (6th Cir.

2008) (“that school officials determined the Confederate flag to be offensive to

African-American and other students . . . does not negate [their] reasonable belief

that the flag was also disruptive and would cause substantial and material

interference with schoolwork and school discipline.”).

      Leroy’s post was far more inflammatory and likely to incite disruption than

either of the shirts at issue in those cases. If he had staged the mock George Floyd

murder in the school parking lot, posted his “Cops Got Another” photo on the wall

of the school, or worn a t-shirt with the April 19 Photo, the school would be required


                                          52
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 61 of 69




to take action. This would not be viewpoint discrimination; it would be the

enforcement of anti-discrimination laws and policies and an effort to avoid the

distractions from the learning process they would cause, i.e., to prevent a substantial

disruption to the educational environment. A school district is subject to liability if

it turns a blind eye to discrimination in schools. It is no different where (as here) the

First Amendment permits schools to regulate off-campus student conduct that is

likely to cause a substantial disruption.

      Appellant offensively refers to outraged members of the community as “the

mob objecting to Leroy’s snap,” (p. 35 (emphasis added)), and characterizes the

objections to his racist social media post as “expressions of support for a so-called

‘antiracist’…. *** extreme, far left ideology.” (p. 37.) Leroy’s post certainly does

not “appear[] to comment on the impunity with which police engage in brutality and

similar misconduct,” as Appellant’s brief suggests. (p. 38; see also p. 46 (“his

message is more readily viewed as anti-cop than racist…”).) While Leroy’s friends

admitted they knew they were staging a mock George Floyd murder, Leroy refused

to even admit he knew what they were staging until afterwards. (A-268-69.) The

Hearing Officer from his Superintendent’s Hearing found his professed ignorance to

be uncredible. (A-461-462; A-478, ¶ 40.)

      Appellant complains about the absence of evidence of discipline of “the other

students who participated in the email barrage or those who organized the in-school


                                            53
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 62 of 69




protest.” (p 45.) This is because no such issue was raised or litigated in the district

court. Leroy and his friends caused the disruption; others reacted to it. Their

complaints about feeling unsafe in their school and their response to an overt act of

racism is not something that warrants punishment of them.

      As the district court held, “The District has an interest in maintaining order

within its schools, promoting tolerance and respect, and ensuring students feel

comfortable and secure within the school environment.” (SPA-19.) Whether on or

off-campus, disciplining a student for an overt act of racism is not the promotion of

a far-left agenda; it is consistent with the educational mission of a school.

Appellant’s amici generally agree. See Brief for the ACLU as Amicus Curiae, p. 3

(“They were also right to emphasize that ‘racism cannot and will not be tolerated’

by the District.”); Brief of First Amendment Scholars, pp. 19-20 (“Livingston Manor

did what public schools do best—educate students about the thoughtful exercise of

their First Amendment rights on the pathway to responsible digital citizenship.”)

Appellant’s suggestion that Leroy suffered a constitutional injury because of

“Defendants[’] pedagogical decision to hold an assembly and host a protest,” (p. 43),

misunderstands the mission of an educational institution.

      The District’s reasonable determination that Leroy’s post was racially

inflammatory and likely to portend a substantial disruption in school nullifies

Appellant’s viewpoint discrimination claim.


                                          54
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 63 of 69




      C.     Heckler’s Veto is Inapplicable

      Entrenched in First Amendment jurisprudence is the notion “that the First

Amendment rights of students in the public schools ‘are not automatically

coextensive with the rights of adults in other settings.’” Hazelwood Sch. Dist. v.

Kuhlmeier, 484 U.S. 260, 266 (1988) (citing Bethel Sch. Dist. No. 403 v. Fraser, 478

U.S. 675, 682 (1986) (“It does not follow, however, that simply because the use of

an offensive form of expression may not be prohibited to adults making what the

speaker considers a political point, the same latitude must be permitted to children

in a public school.”)). Accordingly, “courts must apply the First Amendment ‘in

light of the special characteristics of the school environment.’” Mahanoy Area Sch.

Dist., 594 U.S. at 187 (citing Hazelwood Sch. Dist., 484 U.S. at 266).

      Considering a school’s “special characteristics,” applying the so-called

“heckler’s veto” is inappropriate here. Indeed, this Court has noted, “The difficult

constitutional problems raised by ‘the heckler’s veto’ . . . becomes particularly acute

in a public school, where the threshold of disturbance which may justify official

intervention is relatively low.” Eisner v. Stamford Bd. of Ed., 440 F.2d 803, 809 n.6

(2d Cir. 1971) (internal citation omitted). In Melzer v. Bd. of Educ. of City Sch. Dist.

of City of N.Y., the plaintiff school teacher was “a self described pedophile” and an

active member of NAMBLA, whose “stated primary goal is to bring about a change

in the attitudes and laws governing sexual activity between men and boys.” 336 F.3d


                                          55
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 64 of 69




185, 189 (2d Cir. 2003). When Melzer’s membership in NAMBLA went public, it

“became the center of heated discussion” in the school community and caused

students, parents, and community members to protest and call for Melzer’s

termination. Id. at 191. Melzer was terminated based on the school community’s

reaction and inevitable serious disruption to the operations of the school. Id. at 191-

92. Melzer argued “that allowing disruption caused by the public furor over his

NAMBLA-related activities to justify his termination amounts to an impermissible

heckler’s veto.” Id. at 199. This Court rejected that argument concluding:

             Melzer’s position as a teacher leaves him somewhat
             beholden to the views of parents in the community.
             Parents are not outsiders seeking to heckle Melzer into
             silence, rather they are participants in public education,
             without whose cooperation public education as a practical
             matter cannot function. Any disruption created by parents
             can be fairly characterized as internal disruption to the
             operation of the school, a factor which may be accounted
             for in the [Pickering] balancing test and which may
             outweigh a public employee’s rights. In consequence, we
             do not perceive an impermissible heckler’s veto
             implicated in this case.

Id. (emphasis added).

      This Court subsequently confirmed application of the heckler’s veto is

limited: “Where a Government employee’s job quintessentially involves public

contact, the Government may take into account the public’s perception of that

employee’s expressive acts in determining whether those acts are disruptive to the

Government’s operations.” Locurto v. Giuliani, 447 F.3d 159, 179 (2d Cir. 2006)


                                          56
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 65 of 69




(emphasis added) (“Our cases make clear, then, that the district court’s dichotomy

between the defendants firing the plaintiffs ‘out of a concern for potential disruption’

as against their doing so ‘for reasons of public perception’ or ‘in response to the

content of plaintiffs’ speech, is a false one.’”) (internal citation omitted). Appellant

ignores this limitation on the heckler’s veto doctrine.

      While neither Melzer nor Locurto involved student speech (although Melzer

involved a school teacher), these cases establish the heckler’s veto doctrine is limited

especially where, as here, the speech results in substantial disruption to school

operations. Indeed, limitation of applicability of the heckler’s veto is more apt in the

context of a student’s already limited freedom of speech in light of the “special

characteristics” of the school environment where the record demonstrates numerous

students, parents, school staff members, and community members were affected by

Leroy’s actions.

      The Ninth Circuit, in Dariano v. Morgan Hill Unified Sch. Dist., 767 F.3d 764

(9th Cir. 2014), explained that the “heckler’s veto” doctrine is a poor fit in the

context of school speech because it is inconsistent with Tinker’s substantial

disruption test. Id. at 777-78. The inconsistency stems from the fact that Tinker’s

substantial disruption test focuses on the likely result of the speech rather than the

speaker’s intent: “In the school context, the crucial distinction is the nature of the

speech, not the source of it. The cases do not distinguish between ‘substantial


                                          57
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 66 of 69




disruption’ caused by the speaker and ‘substantial disruption’ caused by the

reactions of onlookers or a combination of circumstances.” Id. at 778 (collecting

cases). On the contrary, “the Tinker rule is guided by a school’s need to protect its

learning environment and its students, and courts generally inquire only whether the

potential for substantial disruption is genuine.” Id. (collecting cases); see also Taylor

v. Roswell Indep. Sch. Dist., 713 F.3d 25, 38, 38 n.11 (10th Cir. 2013) (“Plaintiffs

note that most disruptions occurred only because of wrongful behavior of third

parties and that no Plaintiffs participated in these activities. . . . This argument might

be effective outside the school context, but it ignores the ‘special circumstances of

the school environment’ where the government has a compelling interest in

protecting the educational mission of the school and ensuring student safety.”).

Appellant has cited no legal authority for applying the heckler’s veto doctrine in a

student speech case.

      Even if the heckler’s veto doctrine were applied to this case, it still does not

provide a basis to disturb the district court’s dismissal of the First Amendment

retaliation claim. As detailed above, this is not a case where a school district

disciplined a student based on a mere desire to avoid the discomfort and

unpleasantness that accompanies an unpopular viewpoint, or simply because

members of the community were offended. On the contrary, Leroy’s April 19 Post

created a very real substantial disruption, as evidenced in the record before this


                                           58
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 67 of 69




Court, and is not protected under Tinker. Put differently, the heckler’s veto doctrine

does not wipe out the overwhelming evidence of substantial disruption that

permitted the District to discipline Leroy in accordance with Tinker.



POINT IV: THE COURT SHOULD AFFIRM DISMISSAL OF THE
          CLAIMS AGAINST SUPERINTENDENT JOHN EVANS
          AS THEY ARE DUPLICATIVE OF APPELLANT’S CLAIMS
          AGAINST THE SCHOOL

      Leroy named Superintendent John Evans in his official capacity only. (A-20.)

Such official capacity claims are duplicative of the claims against the District and,

therefore, must be dismissed as a matter of law. See Rodriguez v. City of Rochester,

624 F. App’x 16, 18 (2d Cir. 2015). Because the district court dismissed the claims

on the merits, it did not address this argument.

      This principle applies in the public school context, specifically to dismiss

official-capacity claims against school administrators, such as Superintendent

Evans. See e.g. Z.F.X. by Vankesteren v. Riverhead Cent. Sch. Dist., No. CV 20-962

(GRB)(ST), 2021 WL 1238842 (E.D.N.Y. Apr. 2, 2021); Rutherford v. Fla. Union

Free Sch. Dist., No. 16-CV-9778 (KMK), 2019 WL 1437823 (S.D.N.Y. Mar. 29,

2019) (dismissing official capacity claims against individual defendants as “wholly

redundant” to plaintiff’s claims against school district).




                                          59
              Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 68 of 69




                                  CONCLUSION

      For the reasons set forth above, Defendants-Appellees respectfully submit that

this Court should deny this appeal and affirm the district court’s decision in its

entirety, together with awarding Defendants-Respondents the costs of this appeal

and such other relief as this Court deems just, equitable, and proper.

Dated: Carle Place, New York
       November 13, 2024

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                                         60
               Case: 24-1241, 11/13/2024, DktEntry: 64.1, Page 69 of 69




           CERTIFICATE OF COMPLIANCE WITH F.R.A.P. 32(a)

I hereby certify that:

1.    This brief complies with the type-volume limitation of Fed. R. App. P.

      32(a)(7) because this brief contains 13,769 words, excluding the parts of the

      brief exempted under Fed. R. Civ. P. 32(a)(7)(B)(iii).

2.    This brief complies with the typeface requirements of Fed. R. App. P. 32(a)

      and the type style requirements of Fed. R. App. P. 32(a)(6) because this brief

      has been prepared in a proportional typeface using Microsoft Word in Times

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Dated: Carle Place, New York
       November 13, 2024

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                                         61
